                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                               1:17-cv-127

DARRELL A. CONNOR, Individually       )
and as Executor of the Estate of      )
CHARLES FRANKLIN CONNOR, Deceased)
                                      )
                          Plaintiff,  )
                                      )
            vs.                       )
                                      )
NORFOLK SOUTHERN RAILWAY              )
COMPANY, ET AL.                       )
                                      )
                          Defendants. )
                                      )

               STIPULATION OF DISMISSAL WITH PREJUDICE
                    OF DEFENDANT CBS CORPORATION

      Pursuant to Rule 41 of the Federal Rules of Civil Procedure, Plaintiff Darrell A.

Connor, Individually and as Executor of the Estate of Charles Franklin Connor,

Deceased, by and through undersigned counsel, and with the consent of Defendant, CBS

Corporation, a Delaware corporation, f/k/a Viacom, Inc., successor by merger to CBS

Corporation, a Pennsylvania corporation, f/k/a Westinghouse Electric Corporation hereby

stipulates and agrees to dismiss all claims against Defendant CBS Corporation only in the

above-captioned action with prejudice. Each party to bear its own fees and costs.




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      This 29th day of May, 2018.



/s/ Benjamin Braly                         /s/ Jennifer M. Techman
(signed with express permission jmt)       Jennifer M. Techman (NC Bar # 32183)
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Attorneys for Plaintiff                    successor by merger to CBS Corporation, a
                                           Pennsylvania corporation, f/k/a
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Attorneys for Plaintiff




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                             CERTIFICATE OF SERVICE

            On May 29, 2018 the Stipulation of Dismissal with Prejudice of Defendant CBS

Corporation was filed via CM/ECF which will send notice to all counsel of record.



                                                   /s/ Jennifer M. Techman
                                                   Jennifer M. Techman

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